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 6

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   United States of America
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 9
                                IN THE UNITED STATES DISTRICT COURT
10
                                   EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                          CASE NO. 2:19-CR-0107-KJM
13                                Plaintiff,            STIPULATION REGARDING BRIEFING
                                                        SCHEDULE ON MOTION TO DISMISS FILED BY
14                         v.                           DEFENDANT BRANT DANIEL [ECF 1565] ;
                                                        ORDER
15   RONALD YANDELL, et al.,
16                               Defendants.
17

18                                              STIPULATION

19          The United States, by and through Assistant United States Attorneys Jason Hitt, Ross Pearson,

20 and David Spencer and counsel for defendant Brant Daniel, John Balazs, Esq., and Timothy Warriner,

21 Esq., hereby stipulate and agree to a briefing schedule and hearing date on the motion to dismiss filed by

22 defendants Brant Daniel (“defendant”). ECF 1565.

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 1        The proposed schedule is as follows:

 2                      Government’s Opposition brief:       September 6, 2023

 3                      Defendant’s Reply brief:             September 13, 2023

 4                      Hearing on defendant’s motion:       September 20, 2023, at 9:00 a.m.

 5

 6        IT IS SO STIPULATED.

 7
                                                         PHILLIP A. TALBERT
 8   Dated: August 11, 2023                              United States Attorney
 9
                                                         /s/ Jason Hitt
10                                                       JASON HITT
                                                         Assistant United States Attorney
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13   Dated: August 11, 2023                              /s/ John Balazs
                                                         JOHN BALAZS, Esq.
14
                                                         TIMOTHY WARRINER, Esq.
15                                                       Counsel for Defendant
                                                         BRANT DANIEL
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 1                                        FINDINGS AND ORDER

 2         The Court accepts the stipulation of the parties regarding the motion to dismiss filed by

 3 defendant Brant Daniel. ECF 1565. Accordingly, the Court ADOPTS the proposed schedule as

 4 follows:

 5                        Government’s Opposition brief:        September 6, 2023

 6                        Defendant’s Reply brief:              September 13, 2023

 7                        Hearing on defendant’s motion:        September 20, 2023, at 9:00 a.m.

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 9         IT IS SO ORDERED.
10 DATED: August 16, 2023.

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